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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
CITY OF PHILADELPHIA,                                :
                                                     :
                       Plaintiff,                    :
               v.                                    : CIVIL ACTION NO.
                                                     : 2:17-cv-02203-AB
WELLS FARGO & CO., and                               :
WELLS FARGO BANK, N.A.,                              :
                                                     :
                       Defendants.                   :

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiff the City of Philadelphia, and

defendants Wells Fargo & Co. and Wells Fargo Bank, N.A., through their respective counsel,

stipulate and agree to the dismissal of this lawsuit with prejudice. Plaintiff waives any right to

appeal the dismissal of this action. Each party shall bear its own costs and expenses, including,

without limitation, attorneys’ fees.

        IT IS SO STIPULATED.

Respectfully submitted,                               Respectfully submitted,

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